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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 VEROBLUE FARMS USA, INC.,                      §
    Plaintiff                                   §
                                                §
     v.                                         §         CIVIL ACTION NO. 3:19-CV-00764-X
                                                §
 LESLIE A. WULF, ET AL.,                        §
    Defendants.                                 §

PLAINTIFF VEROBLUE FARMS USA, INC.’S REPLY IN SUPPORT OF MOTION TO
   STRIKE CERTAIN ARGUMENTS AND EVIDENCE FROM THE FOUNDER
     DEFENDANTS’ AND DEFENDANT DRIVER’S MOTIONS TO DISMISS

          Plaintiff VeroBlue Farms USA, Inc. (“VBF”) hereby submits this reply in support of its

Motion to Strike Certain Arguments and Evidence from the Founder Defendants’ and Defendant

Driver’s Motions to Dismiss (the “Motion”). Dkt. No. 215.

A.        Driver’s incorporation by reference of arguments is improper.

          Driver’s wholesale incorporation of the Founder Defendants’ Motion to Dismiss [Dkt.

No. 184] is improper as it allows Driver’s Motion to Dismiss [Dkt. No. 180] to exceed this Court’s

page limitations and to assert arguments that should be waived for insufficient briefing. Driver

does not address the waiver argument. Instead, Driver acknowledges that his 12(b)(6) Motion to

Dismiss has “technical issues,” but argues that the “proper remedy for these technical issues is

either leave of court or a minor amendment of Driver’s 12(b)(6) Motion to Dismiss.” Dkt. No.

240 (“Driver Resp.”) at 3. Driver’s arguments have been waived, and his after-the-fact request for

leave should be denied.

          Importantly, in his untimely request for leave, Driver indicates that he still wishes to

incorporate by reference the Founder Defendants’ arguments. See id. at 4 (“Driver seeks leave to

exceed the page limit or file an amended motion within the page limitations that specifically



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identifies which of the Founder Defendants’ arguments it [sic] is incorporating.”). Driver contends

that this incorporation by reference of the Founder Defendants’ brief will reduce the burden on the

Court, but, in fact, his wholesale adoption of the Founder Defendants’ arguments threatens to

increase the Court’s burden in resolving his motion. This practice is disfavored by the courts, as

it can create unnecessary confusion and ambiguity and leave the court to speculate as to which

specific arguments the party intended to incorporate in the Motion. See, e.g., Saffran v. Boston

Sci. Corp., CIV.A.2 05-CV-547(TJ, 2008 WL 2716318, at *4 n.5 (E.D. Tex. July 9, 2008).

        Driver argues it would be unfair for this Court to reject his insufficiently briefed arguments

and that the “Federal Rules do not condone the relief sought.” Driver Resp. at 2. To the contrary,

the Federal Rules contemplate that parties may waive arguments that are not sufficiently briefed.

See Fed. R. Civ. P. 7. Moreover, this Court’s local rules require a brief not exceed 25 pages, and

that “[p]ermission to file a brief in excess of these page limitation will be granted by the presiding

judge only for extraordinary and compelling reasons.” N.D. Tex. LR 7.2(c). As explained in the

Motion, Driver’s attempted incorporation would potentially allow Driver to file a brief with as

many as 46-78 pages. Driver offers no extraordinary or compelling reasons why an untimely

motion for leave for an amendment of this magnitude should be granted. Further, it would be

fundamentally unfair to allow Driver an after-the-fact-amendment to his motion, especially where,

as here, VBF has already filed its response and brief and opposition and abided by this Court’s

page limitations. See Dkt. No. 218.1




1
  Driver states that VBF requested an agreement of counsel to “file one single response that would
address both Driver and the Founder Defendants’ motions to dismiss.” Driver Resp. at 4. VBF’s
request to counsel to file a combined response with additional pages was made out of an abundance
of caution in the event the Court considered Driver’s incorporation of the Founder Defendants’
response so that all of VBF’s responsive arguments would be together. The Founder Defendants
agreed, but Driver refused. Accordingly, VBF filed separate responses.

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       Driver’s request for leave should be denied, and no arguments should be considered as to

Driver other than those arguments actually made and briefed in his motion to dismiss and brief in

support. Alternatively, if the Court does not strike these additional arguments solely incorporated

by reference, the Court should equally allow incorporation of and apply VBF’s complete response

to the Founders’ motion to dismiss—a remedy to which Driver agrees in his response.

B.     The Court should strike Driver’s declaration.

       Driver argues that VBF waived its objection to his Declaration. Driver Resp. 3. He cites

no authority for such a waiver. Further, Driver fails to mention that the first motion to which his

declaration was attached included a motion to transfer venue, for which outside evidence may be

considered. See Dkt. No. 120; Marrinan v. Carnival Corp., 6:06-CV-294, 2007 WL 1006802, at

*6 (E.D. Tex. Mar. 29, 2007) (“Unlike a Rule 12(b)(6) motion to dismiss, a court can consider

materials outside the pleadings in ruling on a motion to transfer venue.”) (citations omitted). The

Northern District of Iowa court granted Driver’s motion to transfer venue, but reserved his motion

to dismiss for adjudication by the transferee court. Dkt. No. 50 at 16. After the case was

transferred to the Northern District of Texas, but before a ruling on Driver’s motion, Driver filed

a second motion to dismiss. In its response to Driver’s second-filed motion to dismiss, VBF

objected to Driver’s re-filed motion as improper. See Dkt. 103 n.1.

       More importantly, Driver wholly fails to address the merits of VBF’s argument that his

declaration is not appropriate to consider for purposes of a Rule 12(b)(6) motion to dismiss. The

declaration is neither attached nor referred to in the SAC, and it is not central to SAC’s claims. It

is not a public record or other document of which the court may take judicial notice. Simply put,

Driver’s self-serving affidavit does not belong in the category of documents that the Court may

properly consider when deciding a Rule 12(b)(6) motion. See, e.g., Tolliver v. YRC Worldwide

Inc., 3:13-CV-3739-M-BK, 2014 WL 929029, at *2 (N.D. Tex. Mar. 10, 2014).


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C.      The Court should strike the Founder Defendants’ arguments as to the Original
        Claims.

        The Founder Defendants argue that that Rule 12(g) does not bar their assertion of new

arguments as to Counts 1-4 and 9-13 of the SAC (the “Original Claims” previously included in the

Amended Complaint). Founders Resp. at 2. The Founder Defendants never filed a 12(b)(6)

motion to dismiss VBF’s Amended Complaint and made no such arguments as to the Original

Claims. See Dkt. No. 19. After the case was transferred, the Founder Defendants still did not file

a Rule 12(b)(6) motion to dismiss, but instead filed an answer, addressing each of the Original

Claims. See Dkt. No. 66. The Founder Defendants were able to admit, deny, or otherwise answer,

paragraph by paragraph, each of the allegations in the Original Claims; they were clearly

sufficiently pleaded. Yet, after the filing of the SAC, the Founder Defendants moved to dismiss

these same Original Claims for failure to state a claim under Rule 12(b)(6). This Court should not

permit the Founder Defendants the opportunity to dismiss claims that they could have previously

moved to dismiss under Rule 12(b)(6) in their first Rule 12 motion—but declined to—and that

they have already demonstrated their ability to answer.2 If anything, the Original Claims are even

more supported now with the additional allegations in the SAC that the Founder Defendants

describe as over “229 factual allegations (over 48 pages of additional facts).” Founders Resp. at 3.




2
  See Hernandez v. Casey, No 3:16-CV-452-M-BH 2017 WL 685679, at *3 (N.D. Tex. Jan. 12,
2017), report and recommendation adopted, 2017 WL 680309 (N.D. Tex. Feb. 21, 2017) (“The
filing of an amended complaint does not ‘revive’ the right of a defendant to file a successive Rule
12(b)(6) motion to dismiss on grounds that were available but not raised prior to the amended
pleading.”) (emphasis in original) (citations omitted); but see Doe v. Columbia-Brazoria Indep.
Sch. Dist. by & through Bd. of Trustees, 855 F.3d 681, 686 (5th Cir. 2017) (holding that it was not
an abuse of discretion to allow defendant to raise new arguments in a second Rule 12(b)(6) motion
that could have been presented in a Rule 12(c) motion, which is not prohibited by Rule 12(h)).


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D.       The Motion to Strike was the proper vehicle for the arguments raised by VBF.

         The Founder Defendants3 contend that VBF’s motion strike is improper under Rule 12.

Dkt. No. 243 (“Founders’ Resp.”) at 4. But VBF did not file its motion to strike pursuant to

Rule 12, which VBF agrees is limited to pleadings. See Fed. R. Civ. P. 12(f).

         Motions to strike are routinely considered in contexts outside of Rule 12 and for the

purpose of striking matters other than pleadings. Indeed, sister courts in this district have granted

motions to strike briefs as well as evidence. See, e.g., Carreon v. King, 3:15-CV-2089-K-BK,

2016 WL 9525670, at *3 (N.D. Tex. June 13, 2016) (granting motions to strike expert testimony

from expert reports); Greene v. Toyota Motor Corp., 3:11-CV-207-N, 2014 WL 12575962, at *2

(N.D. Tex. May 7, 2014) (granting motion to strike evidence attached to reply brief in support of

motion for summary judgment); Mendoza v. Detail Sols., LLC, 911 F. Supp. 2d 433, 443 (N.D.

Tex. 2012) (granting motion to strike portions of defendant’s reply brief in support of motion for

summary judgment); Atlin v. Mendes, CIV.A.3:06-CV-1909-L, 2009 WL 306173, at *3 (N.D. Tex.

Feb. 6, 2009) (granting, in part, motion to strike changed deposition testimony); Monkey Boy

Graphix, Inc. v. Anton Sport, Inc., 3:08-CV-657-O (BH), 2008 WL 11349966, at *2 (N.D. Tex.

Aug. 20, 2008), adopted by, 2008 WL 11349845 (N.D. Tex. Sept. 17, 2008) (granting motion to

strike exhibit in appendix); Lopez v. City of Dallas, Tex, 3:03-CV-2223-M, 2006 WL 1450520, at

*13 (N.D. Tex. May 24, 2006) (granting motion to strike appendix attached to reply brief); see

also Rodriguez-Rodriguez v. Big Bird Tree Serv., Inc., No. 3:15-CV-3815-L, 2017 WL 1047576,

at *3 (N.D. Tex. Mar. 20, 2017) (granting request to strike motion for summary judgment).

         The Founder Defendants reference a prior motion to strike filed by VBF that was denied.

See Founders Resp. at 4. That motion to strike was filed in the Northern District of Iowa (before



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    Driver did not argue that the motion to strike was procedurally improper. See Dkt. 240.


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the case was transferred) and sought to strike a reply brief filed by the Founders specifically as

improper under the local rules of the Northern District of Iowa. See N.D. Iowa LR 7(g)

(“Ordinarily, reply briefs are unnecessary…. In the reply brief, the moving party must not reargue

points made in the opening brief….”). Dkt. No. 48 at 2-5. Thus, VBF’s first motion to strike

pertained to and was governed by that local rule, not Rule 12, as the Founder Defendants suggest.

        The Founder Defendants also argue that VBF should have made its motion to strike

arguments in its response brief, instead of filing a separate motion to strike. Founders Resp. at 5.

This argument also fails. As advised by a sister court in this district, when seeking to strike parts

of a brief on a motion to dismiss, the proper procedure is to file a separate motion to strike instead

of including it within the motion to dismiss briefing itself. See Alenco Holding Corp. v. Win-Dor

Sys., Inc., CIV. A. 3:01-CV-1054, 2002 WL 226368, at *1 n.1 (N.D. Tex. Feb. 13, 2002) (“In its

reply brief, [defendant] also seeks to strike portions of [plaintiff]’s response. . . . The court will not

consider this request, however, because it is not properly before the court. In order for the court

to have considered this motion, [defendant] should have filed a separate motion to strike instead

of including the motion within its reply brief.”).

        Accordingly, VBF’s Motion is properly before this Court. Further, VBF has filed this

motion in good faith, and not as a dilatory or harassing tactic. VBF, in good faith, believed that

the proper procedure was to file this motion to strike separate from its response briefs to the

Founder Defendants and Defendant Keith Drivers’ Motions to Dismiss. See id. Therefore, even

if VBF’s motion to strike is not granted, the Founder Defendants’ request for their fees and costs

should be denied.

                                           CONCLUSION

        Plaintiff VBF respectfully requests that this Court grant the Motion and grant such other

and further relief to which it may show itself justly entitled.


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 Dated: January 24, 2019                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This document was filed electronically on January 24, 2019, and, in compliance with
Local Civil Rule L.R. 5.1(d), a copy of this document has been served on all counsel of record.

                                                      /s/ Nicole L. Williams
                                                      Nicole L. Williams




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